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VERONICA ESCOBAR,                    )
 in her personal capacity,           )   Civil Case No. 1:21-CV-400-AP
HON. PRAMILA JAYAPAL,                )   Honorable Amit P. Mehta
 in her personal capacity,           )   [PROPOSED] ORDER
HON. HENRY C. JOHNSON, JR.,          )
 in his personal capacity,           )
HON. MARCIA C. KAPTUR,               )
 in her personal capacity,           )
HON. BARBARA J. LEE,                 )
 in her personal capacity,           )
HON. JERROLD NADLER,                 )
 in his personal capacity,           )
HON. MAXINE WATERS,                  )
 in her personal capacity, and       )
HON. BONNIE M. WATSON COLEMAN,)
 in her personal capacity            )
                                     )
        Plaintiffs,                  )
v.                                   )
                                     )
DONALD J. TRUMP,                     )
 solely in his personal, capacity,   )
RUDOLPH W. GIULIANI,                 )
OATH KEEPERS,                        )
PROUD BOYS INTERNATIONAL, L.L.C.)
WARBOYS LLC, and                     )
ENRIQUE TARRIO                       )
                                     )
        Defendants.                  )
__________________________________ )
         Case 1:21-cv-00400-APM Document 23 Filed 05/27/21 Page 2 of 2




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  motion to befiled)                                        Pentiuk, Couvreur & Kobiljak, P.C.
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_________________________________________/

                        [PROPOSED] ORDER GRANTING
                 DEFENDANT OATH KEEPER’S MOTION TO DISMISS
                      PLAINTIFFS’ AMENDED COMPLAINT

        On May 26, 2021, pursuant to Fed. R. Civ. P. 12(b)(1) & (6) Defendant Oath Keepers filed
its Motion to Dismiss [Doc. #20] Plaintiffs’ Amended Complaint [Doc #11-1].

        After considering the Motion, response to the Motion, reply in support of the Motion, and
the entire record, the Court Grants the Motion [Doc. #20] and hereby ORDERS that the Amended
Complaint [Doc. #11-1] is hereby DISMISSED WITH PREJDUCIE as to refiling same.

IT IS SO ORDERED.

Date: ___________                                   _______________________________________________
                                                    UNITED STATES DISTRICT JUDGE
